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                                                                                                                      Exhibit A
                                                                                                                  Master Service List

                   Description                                                   Name                                                       Address                                  Email              Method of Service
*NOA - Counsel for Action Figure Authority Inc       Adams and Reese LLP                              Attn: Nikolaus F Schandlbauer, Esq / Lauren A Baio, Esq    nick.schandlbauer@arlaw.com;   Email
                                                                                                      20 F St, Ste 500                                           lianna.sarasola@arlaw.com
                                                                                                      Washington, DC 20001
*NOA - Counsel for Image Comics, Inc                 BakerHostetler LLP                               Attn: Adam L Fletcher, Esq/Scott E Prince, Esq Key Twr     afletcher@bakerlaw.com;        Email
                                                                                                      127 Public Sq, Ste 2000                                    sprince@bakerlaw.com
                                                                                                      Cleveland, OH 44114
*NOA - Counsel for Bandai Namco Toys &               Cole Schotz P.C.                                 Attn: Gary H Leibowitz/HC Jones III                        gleibowitz@coleschotz.com;     Email
Collectibles America, Inc, and Bandai Co.,                                                            1201 Wills St, Ste 320                                     hjones@coleschotz.com
Ltd.                                                                                                  Baltimore, MD 21231
*NOA - Counsel for Renegade Games, LLC, Rosebud DLA Piper LLP (US)                                    Attn: C Kevin Kobbe                                        kevin.kobbe@us.dlapiper.com    Email
Entertainment, LLC and Stephen                                                                        650 S Exeter St, Ste 1100
A Geppi                                                                                               Baltimore, MD 21202
*NOA - Counsel for Kathy Govier                      Gohn Hankey & Berlage LLP                        Attn: Jan I Berlage                                        jberlage@ghsllp.com            Email
                                                                                                      201 N Charles St, Ste 2101
                                                                                                      Baltimore, MD 21201
IRS                                                  Internal Revenue Service                         Attn: Centralized Insolvency Operation                                                    First Class Mail
                                                                                                      P.O. Box 7346
                                                                                                      Philadelphia, PA 19101-7346
*NOA - Counsel to NECA LLC                           Klestadt Winters Jureller Southard & Stevens,    Attn: Ian R Winters/Stephanie R Sweeney                    abrown@klestadt.com;           Email
                                                     LLP                                              Attn: Andrew C Brown                                       iwinters@klestadt.com;
                                                                                                      200 W 41st St, 17th Fl                                     ssweeney@klestadt.com
                                                                                                      New York, NY 10036-7023
Official Committee of Unsecured Creditors            Little Buddy Toys, LLC                           270 E Palais Rd                                                                           First Class Mail
                                                                                                      Anaheim, CA 92805
*NOA - Proposed Counsel for The Official             Lowenstein Sandler LLP                           Attn: Bruce S Nathan/Gianfranco Finizio                    bnathan@lowenstein.com;        Email
Committee of Unsecured Creditors                                                                      Attn: Chelsea R Frankel                                    gfinizio@lowenstein.com;
                                                                                                      1251 Ave of the Americas, 17th Fl                          cfrankel@lowenstein.com
                                                                                                      New York, NY 10020
*NOA - Proposed Counsel for The Official             Lowenstein Sandler LLP                           Attn: Michael Papandrea                                    mpapandrea@lowenstein.com      Email
Committee of Unsecured Creditors                                                                      1 Lowenstein Dr
                                                                                                      Roseland, NJ 07068
*NOA - Counsel for Dynamic Forces, Inc               Mcnamee Hosea, P.A.                              Attn: Justin P Fasano                                      jfasano@mhlawyers.com          Email
                                                                                                      6404 Ivy Ln, Ste 820
                                                                                                      Greenbelt, MD 20770
Attorney General                                     Office Of The Attorney General                   500 S 2nd St                                                                              First Class Mail
                                                                                                      Springfield, IL 62701
Attorney General                                     Office Of The Attorney General                   601 S University Ave                                                                      First Class Mail
                                                                                                      Carbondale, IL 62901
Attorney General                                     Office Of The Attorney General                   800 5th Ave, Ste 2000                                                                     First Class Mail
                                                                                                      Seattle, WA 98104
Attorney General                                     Office Of The Attorney General                   Attn: Aaron Frey                                                                          First Class Mail
                                                                                                      State House, Stn 6
                                                                                                      Augusta, ME 04333
Attorney General                                     Office Of The Attorney General                   Attn: Alan Wilson                                                                         First Class Mail
                                                                                                      Rembert D Dennis Office Bldg
                                                                                                      P.O. Box 11549
                                                                                                      Columbia, SC 29211-1549
Attorney General                                     Office Of The Attorney General                   Attn: Andrew Bailey                                                                       First Class Mail
                                                                                                      2311 Bloomfield St, Ste 106
                                                                                                      Cape Girardeau, MO 63703
Attorney General                                     Office Of The Attorney General                   Attn: Andrew Bailey                                                                       First Class Mail
                                                                                                      615 E 13th St, Ste 401
                                                                                                      Kansas City, MO 64106
Attorney General                                     Office Of The Attorney General                   Attn: Andrew Bailey                                                                       First Class Mail
                                                                                                      815 Olive St, Ste 200
                                                                                                      St Louis, MO 63101
Attorney General                                     Office Of The Attorney General                   Attn: Andrew Bailey                                                                       First Class Mail
                                                                                                      Supreme Court Bldg
                                                                                                      207 W High St
                                                                                                      Jefferson City, MO 65101
Attorney General                                     Office Of The Attorney General                   Attn: Ashley Moody                                                                        First Class Mail
                                                                                                      The Capital, Pl 01
                                                                                                      Tallahassee, FL 32399-1050
Attorney General                                     Office Of The Attorney General                   Attn: Brian Schwalb                                                                       First Class Mail
                                                                                                      400 6th St NW
                                                                                                      Washington, DC 20001
Attorney General                                     Office of the Attorney General                   Attn: Bridget Hill                                                                        First Class Mail
                                                                                                      State Capitol Bldg
                                                                                                      Cheyenne, WY 82002
Attorney General                                     Office Of The Attorney General                   Attn: Chris Carr                                                                          First Class Mail
                                                                                                      40 Capital Sq SW
                                                                                                      Atlanta, GA 30334-1300
Attorney General                                     Office Of The Attorney General                   Attn: Daniel Cameron                                                                      First Class Mail
                                                                                                      Capitol Bldg
                                                                                                      700 Capitol Ave, Ste 118
                                                                                                      Frankfort, KY 40601
Attorney General                                     Office Of The Attorney General                   Attn: Dave Yost State                                                                     First Class Mail
                                                                                                      Office Tower
                                                                                                      30 E Broad St
                                                                                                      Columbus, OH 43266-0410
Attorney General                                     Office Of The Attorney General                   Attn: Domingo Emanuelli Hernandez                                                         First Class Mail
                                                                                                      P.O. Box 9020192
                                                                                                      San Juan, PR 00902-0192
Attorney General                                     Office Of The Attorney General                   Attn: Gentner Drummond                                                                    First Class Mail
                                                                                                      313 NE 21st St
                                                                                                      Oklahoma City, OK 73105
Attorney General                                     Office of the Attorney General                   Attn: Hector Balderas                                                                     First Class Mail
                                                                                                      P.O. Drawer 1508
                                                                                                      Santa Fe, NM 87504-1508
Attorney General                                     Office Of The Attorney General                   Attn: Herbert H Slattery, Iii                                                             First Class Mail
                                                                                                      P.O. Box 20207
                                                                                                      Nashville, TN 37202-0207
Attorney General                                     Office of the Attorney General                   Attn: Jeff Landry                                                                         First Class Mail
                                                                                                      P.O. Box 94095
                                                                                                      Baton Rouge, LA 70804-4095
Attorney General                                     Office Of The Attorney General                   Attn: Jonathan Skrmetti                                                                   First Class Mail
                                                                                                      425 5th Ave N
                                                                                                      Nashville, TN 37243
Attorney General                                     Office Of The Attorney General                   Attn: Josh Kaul                                                                           First Class Mail
                                                                                                      Wisconsin Dept Of Justice
                                                                                                      State Capital, Rm 114 E
                                                                                                      P.O. Box 7857
                                                                                                      Madison, WI 53707-7857
Attorney General                                     Office Of The Attorney General                   Attn: Josh Stein Dept Of Justice                                                          First Class Mail
                                                                                                      P.O. Box 629
                                                                                                      Raleigh, NC 27602-0629




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                                                                                                   Master Service List

                    Description                                                 Name                                           Address                        Email                  Method of Service
Attorney General                                     Office Of The Attorney General     Attn: Keith Ellison                                                                 First Class Mail
                                                                                        State Capital
                                                                                        75 Dr Martin Luther King Jr Blvd, Ste 102
                                                                                        St Paul, MN 55155
Attorney General                                     Office Of The Attorney General     Attn: Ken Paxton Capital Station                                                    First Class Mail
                                                                                        P.O. Box 12548
                                                                                        Austin, TX 78711-2548
Attorney General                                     Office Of The Attorney General     Attn: Kris Kobach                                                                   First Class Mail
                                                                                        120 SW 10th Ave, 2nd Fl
                                                                                        Topeka, KS 66612-1597
Attorney General                                     Office Of The Attorney General     Attn: Kwame Raoul                                                                   First Class Mail
                                                                                        James R Thompson Ctr
                                                                                        100 W Randolph St
                                                                                        Chicago, IL 60601
Attorney General                                     Office of the Attorney General     Attn: Letitia A James Dept of Law                                                   First Class Mail
                                                                                        The Capitol, 2nd Fl
                                                                                        Albany, NY 12224
Attorney General                                     Office Of The Attorney General     Attn: Lynn Fitch Dept Of Justice                                                    First Class Mail
                                                                                        P.O. Box 220
                                                                                        Jackson, MS 39205
Attorney General                                     Office of the Attorney General     Attn: Marty Jackley                                                                 First Class Mail
                                                                                        1302 E Hwy 14, Ste 1
                                                                                        Pierre, SD 57501-8501
Attorney General                                     Office Of The Attorney General     Attn: Mathew J Platkin                                                              First Class Mail
                                                                                        Richard J Hughes Justice Complex
                                                                                        25 Market St
                                                                                        P.O. Box 080
                                                                                        Trenton, NJ 08625
Attorney General                                     Office of the Attorney General     Attn: Michelle A Henry                                                              First Class Mail
                                                                                        Strawberry Sq, 16th Fl
                                                                                        Harrisburg, PA 17120
Attorney General                                     Office Of The Attorney General     Attn: Mike Hilgers State Capitol                                                    First Class Mail
                                                                                        P.O. Box 98920
                                                                                        Lincoln, NE 68509-8920
Attorney General                                     Office Of The Attorney General     Attn: Patrick Morrisey                                                              First Class Mail
                                                                                        State Capitol
                                                                                        1900 Kanawha Blvd E
                                                                                        Charleston, WV 25305
Attorney General                                     Office Of The Attorney General     Attn: Peter F Neronha                                                               First Class Mail
                                                                                        150 S Main St
                                                                                        Providence, RI 02903
Attorney General                                     Office Of The Attorney General     Attn: Phil Weiser                                                                   First Class Mail
                                                                                        Ralph L Carr Colorado Judicial Ctr
                                                                                        1300 Broadway, 10th Fl
                                                                                        Denver, CO 80203
Attorney General                                     Office Of The Attorney General     Attn: Rob Bonta                                                                     First Class Mail
                                                                                        1300 I St, Ste 1740
                                                                                        Sacramento, CA 95814
Attorney General                                     Office Of The Attorney General     AZ Ag Office – Css                                                                  First Class Mail
                                                                                        P.O. Box 6123, MD 7611
                                                                                        Phoenix, AZ 85005-6123
Attorney General                                     Office Of The Attorney General     California Dept Of Justice                                                          First Class Mail
                                                                                        P.O. Box 944255
                                                                                        Sacramento, CA 94244-2550
Attorney General                                     Office Of The Attorney General     Consumer Law Section                                                                First Class Mail
                                                                                        Attn: Bankruptcy Notices
                                                                                        455 Golden Gate Ave, Ste 11000
                                                                                        San Francisco, CA 94102-7004
Attorney General                                     Office Of The Attorney General     State Of Alabama                                                                    First Class Mail
                                                                                        Attn: Steve Marshall
                                                                                        501 Washington Ave
                                                                                        P.O. Box 300152
                                                                                        Montgomery, AL 36130-0152
Attorney General                                     Office of the Attorney General     Attn: Aaron D Ford                                aginfo@ag.nv.gov                  Email
                                                                                        Old Supreme Court Bldg
                                                                                        100 N Carson St
                                                                                        Carson City, NV 89701
Attorney General                                     Office Of The Attorney General     Supreme Court Bldg                                                                  First Class Mail
                                                                                        P.O. Box 899
                                                                                        Jefferson City, MO 65102
Attorney General                                     Office Of The Attorney General     Attn: Kris Mayes                                  AGInfo@azag.gov                   Email
                                                                                        2005 N Central Ave
                                                                                        Phoenix, AZ 85004
Attorney General                                     Office Of The Attorney General     Attn: Charity R Clark                             ago.info@vermont.gov              Email
                                                                                        109 State St
                                                                                        Montpelier, VT 05609-1001
Attorney General                                     Office Of The Attorney General     Attn: Andrea Campbell                             ago@state.ma.us                   Email
                                                                                        1 Ashburton Pl, 20th Fl
                                                                                        Boston, MA 02108-1698
Attorney General                                     Office Of The Attorney General     Attn: Andrea Campbell                             ago@state.ma.us                   Email
                                                                                        10 Mechanic St, Ste 301
                                                                                        Worcester, MA 01608
Attorney General                                     Office Of The Attorney General     Attn: Andrea Campbell                             ago@state.ma.us                   Email
                                                                                        1441 Main St, 12th Fl
                                                                                        Springfield, MA 01103
Attorney General                                     Office Of The Attorney General     Attn: Treg Taylor                                 attorney.general@alaska.gov       Email
                                                                                        1031 W 4th Ave, Ste 200
                                                                                        Anchorage, AK 99501-1994
Attorney General                                     Office Of The Attorney General     Attn: William Tong                                attorney.general@ct.gov           Email
                                                                                        165 Capitol Ave
                                                                                        Hartford, CT 06106
Attorney General                                     Office of the Attorney General     Attn: Kathy Jennings                              attorney.general@delaware.gov     Email
                                                                                        Carvel State Office Bldg
                                                                                        820 N French St
                                                                                        Wilmington, DE 19801
Attorney General                                     Office Of The Attorney General     Attn: John Formella                               attorneygeneral@doj.nh.gov        Email
                                                                                        33 Capitol St
                                                                                        Concord, NH 03301
Attorney General                                     Office Of The Attorney General     Attn: Ellen F Rosenblum                           attorneygeneral@doj.state.or.us   Email
                                                                                        Justice Bldg
                                                                                        1162 Court St NE
                                                                                        Salem, OR 97301
Attorney General                                     Office of the Attorney General     Attn: Raúl Labrador                               bankruptcy@ag.idaho.gov           Email
                                                                                        700 W Jefferson St, Ste 210
                                                                                        P.O. Box 83720
                                                                                        Boise, ID 83720-1000
Attorney General                                     Office of the Attorney General     Attn: Sean Reyes                                  bankruptcy@agutah.gov             Email
                                                                                        State Capitol, Rm 236
                                                                                        Salt Lake City, UT 84114-0810




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                                                                                                                       Master Service List

                       Description                                               Name                                                             Address                             Email                   Method of Service
Attorney General                                      Office Of The Attorney General                       Attn: Todd Rokita                                      Constituent@atg.in.gov              Email
                                                                                                           Indiana Govt Ctr S
                                                                                                           302 W Washington St, 5th Fl
                                                                                                           Indianapolis, IN 46204
Attorney General                                      Office Of The Attorney General                       Attn: Brenna Bird Hoover                               consumer@ag.iowa.gov                Email
                                                                                                           State Office Bldg
                                                                                                           1305 E Walnut
                                                                                                           Des Moines, IA 50319
Attorney General                                      Office Of The Attorney General                       Attn: Jason Miyares                                    Contact@Virginia.gov                Email
                                                                                                           202 N 9th St
                                                                                                           Richmond, VA 23219
Attorney General                                      Office of the Attorney General                       Attn: Austin Knudsen                                   contactdoj@mt.gov                   Email
                                                                                                           Justice Bldg, 3rd Fl
                                                                                                           215 N Sanders
                                                                                                           Helena, MT 59620-1401
Attorney General                                      Office Of The Attorney General                       Attn: Anne E Lopez                                     hawaiiag@hawaii.gov                 Email
                                                                                                           425 Queen St
                                                                                                           Honolulu, HI 96813
Attorney General                                      Office Of The Attorney General                       Attn: Dana Nessel                                      miag@michigan.gov                   Email
                                                                                                           P.O. Box 30212
                                                                                                           525 W Ottawa St
                                                                                                           Lansing, MI 48909-0212
Attorney General                                      Office Of The Attorney General                       Attn: Drew Wrigley State Capital                       ndag@nd.gov                         Email
                                                                                                           600 E Boulevard Ave
                                                                                                           Bismarck, ND 58505-0040
Attorney General                                      Office Of The Attorney General                       345 State Capitol                                      nedoj@nebraska.gov                  Email
                                                                                                           Lincoln, NE 68509
Attorney General                                      Office Of The Attorney General                       Attn: Tim Griffin                                      oag@ArkansasAG.gov                  Email
                                                                                                           323 Center St, Ste 200
                                                                                                           Little Rock, AR 72201-2610
Attorney General                                      Office Of The Attorney General                       441 4th St Nw, Ste 1100 S                              oag@dc.gov                          Email
                                                                                                           Washington, DC 20001
Attorney General                                      Office Of The Attorney General                       Attn: Anthony G Brown                                  oag@oag.state.md.us                 Email
                                                                                                           200 St Paul Pl
                                                                                                           Baltimore, MD 21202-2202
Attorney General                                      Office Of The Attorney General                       Walter Sillers                                                                             First Class Mail
                                                                                                           Bldg 550 High St, Ste 1200
                                                                                                           Jackson, MS 39201
Attorney General                                      Office Of The Attorney General                       Attn: Bob Ferguson                                     serviceATG@atg.wa.gov               Email
                                                                                                           1125 Washington St Se
                                                                                                           P.O. Box 40100
                                                                                                           Olympia, WA 98504-0100
*NOA - Counsel for New York State Department of       Office of the New York State Attorney General        Attn: Robert J Rock                                    robert.rock@ag.ny.gov               Email
Taxation and Finance (NYSTAX)                                                                              Civil Recoveries Bureau, Bankruptcy Litigation Unit
                                                                                                           The Capitol
                                                                                                           Albany, NY 12224-0341
US Attorney's Office                                  Office Of The Us Attorney                            For The Dist Of Maryland                                                                   First Class Mail
                                                                                                           36 S Charles St, 4th Fl
                                                                                                           Baltimore, MD 21201
*NOA - Counsel to The Pokémon Company                 Perkins Coie LLP                                     Attn: David WT Daniels                                 DDaniels@perknscoie.com             Email
International, Inc                                                                                         700 13th St, NW, Ste 600
                                                                                                           Washington, DC 20005
*NOA - Counsel to The Pokémon Company                 Perkins Coie LLP                                     Attn: Sara L Chenetz                                   SChenetz@perkinscoie.com            Email
International, Inc                                                                                         1888 Century Park E, Ste 1700
                                                                                                           Los Angeles, CA 90067-1721
*NOA - Counsel for Basic Fun, Inc.                    Polsinelli PC                                        Attn: D Jack Blum/Mark B Joachim                       jack.blum@polsinelli.com;           Email
                                                                                                           1401 Eye St NW, Ste 800                                mjoachim@polsinelli.com
                                                                                                           Washington, DC 20005
*NOA - Counsel for Bandai Namco Toys &                Ropers Majeski                                       Attn: Steven G Polard                                  steven.polard@ropers.com            Email
Collectibles America, Inc, and Bandai Co.,                                                                 801 S Figueroa St, Ste 2100
Ltd.                                                                                                       Los Angeles, CA 90017
*NOA - Counsel for Diamond Comic Distributors,         Saul Ewing LLP                                      Attn: Ashley N Fellona                                 ashley.fellona@saul.com             Email
Inc.; Comic Holdings, Inc.; Comic Exporters, Inc.; and                                                     1001 Fleet St, 9th Fl
Diamond Select Toys & Collectibles, LLC                                                                    Baltimore, MD 21202
*NOA - Debtors Counsel                                Saul Ewing LLP                                       Attn: Jeffrey C Hampton/Adam H Isenberg                jeffrey.hampton@saul.com;           Email
                                                                                                           Centre Square West                                     adam.isenberg@saul.com
                                                                                                           1500 Market St, 38th Fl
                                                                                                           Philadelphia, PA 19102
*NOA - Debtors Counsel                                Saul Ewing LLP                                       Attn: Mark Minuti/Paige Topper                         mark.minuti@saul.com;               Email
                                                                                                           Attn: Nicholas Smargiassi                              paige.topper@saul.com;
                                                                                                           1201 N Market St, Ste 2300                             nicholas.smargiassi@saul.com
                                                                                                           P.O. Box 1266
                                                                                                           Wilmington, DE 19899
Governmental Agencies                                 Secretary of State                                   Division of Corporations Franchise Tax                                                     First Class Mail
                                                                                                           P.O. Box 898
                                                                                                           Dover, DE 19904
SEC                                                   Securities & Exchange Commission                     Attn: Antonia Apps, Regional Director                                                      First Class Mail
                                                                                                           100 Pearl St, Ste 20-100
                                                                                                           New York, NY 10004-2616
SEC                                                   Securities & Exchange Commission                     100 F St NE                                                                                First Class Mail
                                                                                                           Washington, DC 20549
Official Committee of Unsecured Creditors             Simon & Schuster, LLC                                100 Front St                                                                               First Class Mail
                                                                                                           Riverside, NJ 08075
*NOA - Counsel for Blue Yonder, Inc                   Squire Patton Boggs (US) LLP                         Attn: Christopher J Giaimo / Mark A Salzberg           christopher.giaimo@squirepb.com;    Email
                                                                                                           2550 M St NW                                           mark.salzberg@squirepb.com
                                                                                                           Washington, DC 20037
*NOA - Counsel to NECA LLC                            The Law Offices of Zvi Guttman, P.A.                 Attn: Zvi Guttman                                      zvi@zviguttman.com                  Email
                                                                                                           P.O. Box 32308
                                                                                                           Baltimore, MD 21282
Official Committee of Unsecured Creditors             Titan Publishing Group Limited/Titan Comics          144 Southwark St                                                                           First Class Mail
                                                                                                           London, SE1 0UP
                                                                                                           United Kingdom
*NOA - Counsel for JPMorgan Chase Bank, N.A           Troutman Pepper Locke LLP                            Attn: Toyja E Kelley/Indira K Sharma                   Toyja.Kelley@troutman.com;          Email
                                                                                                           Attn: Jonathan W Young                                 Indira.Sharma@troutman.com;
                                                                                                           701 8th St NW, Ste 500                                 Jonathan.Young@troutman.com
                                                                                                           Washington, DC 20001
*NOA - Counsel for JPMorgan Chase Bank, N.A           Troutman Pepper Locke LLP                            Attn: David L Ruediger/Katherine E Culbertson          David.Ruediger@troutman.com;        Email
                                                                                                           111 Huntington Ave                                     Katherine.Culbertson@troutman.com
                                                                                                           Boston, MA 02199
*NOA - Counsel for The Official Committee of          Tydings & Rosenberg LLP                              Attn: Richard L Costella Esquire                       rcostella@tydings.com               Email
Unsecured Creditors                                                                                        1 E Pratt St, Ste 901
                                                                                                           Baltimore, MD 21202
*NOA - Proposed Counsel for The Official              Tydings & Rosenberg LLP                              Attn: Dennis J Shaffer/Yung Yong Lee                   dshaffer@tydings.com;               Email
Committee of Unsecured Creditors                                                                           Attn: Stephen B Gerald                                 jlee@tydings.com;
                                                                                                           1 E Pratt St, Ste 901                                  sgerald@tydings.com
                                                                                                           Baltimore, MD 21202
United States Attorney for the District of Maryland United States Attorney for The District of Maryland    Attn: Civil Process Clerk                                                                  First Class Mail
                                                                                                           36 S Charles St, 4th Fl
                                                                                                           Baltimore, MD 21201




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                                                                                                             Master Service List

                    Description                                                 Name                                                 Address                        Email                    Method of Service
*NOA - Counsel for the United States                 United States Department of Justice          Attn: Hugh M Bernstein                          hugh.m.bernstein@usdoj.gov         Email
Trustee for Region Four                                                                           101 W Lombard St, Ste 2625
                                                                                                  Baltimore, MD 21201
*NOA - Counsel for Universal Distribution LLC        Whiteford, Taylor & Preston L.L.P            Attn: Brent C Strickland                        bstrickland@whitefordlaw.com       Email
                                                                                                  8830 Stanford Blvd, Ste 400
                                                                                                  Columbia, MD 21045
*NOA - Counsel to Disney Consumer Products, Inc.     Wilmer Cutler Pickering Hale and Dorr LLP    Attn: Andrew N Goldman                          andrew.goldman@wilmerhale.com;     Email
and Marvel Brands LLC                                                                             Attn: Benjamin W Loveland                       benjamin.loveland@wilmerhale.com
                                                                                                  7 World Trade Ctr
                                                                                                  250 Greenwich St
                                                                                                  New York, NY 10007
*NOA - Counsel for Alliance Entertainment, LLC       YVS Law, LLC                                 Attn: Jonathan A Grasso, Esquire                jgrasso@yvslaw.com                 Email
                                                                                                  185 Admiral Cochrane Dr, Ste 130
                                                                                                  Annapolis, MD 21401




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                                                                   Service List


                    Creditor                                        Email                    Method of Service
Devan, Emily K.                                   edevan@MilesStockbridge.com       Email




Diamond Comic Distributors, Inc., et al. (Case No. 25-10308)
